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Ca$e 2118-mj~01879-DUTY *SEALED* DOCumel'\t l-l *SEALED* Filed 07/20/18 Page 2 0f 12

 

 

Page lD #:44
AO 93 (Re\'. 12 09) Searcli and Se1:ure Warrant (Page _7)
Return
Case No. .' Date time wa) rant executed Copy of w )rant and i?ventoty left with
2;18-1\/11-1879/;",;21>)5’[,,?20/4/’1 /<; c en 726

 

 

 

lnvento)jy made in the presence of.

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Inventory of the property taken and name of any person(s) seized:
[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate

volume of any documents seized (e g., number of boxes). lf reference is made to an attached description of property, specify the

number of pages to the attachment and any case number appearing thereon. ]
1. .22 ca ell casing

USPS Box Addressed to Gilbert Estrada, with AK Grips, Tools, 81 Instructions
Envelope Addressed to Estrada with Receipt for Glock Holster
Foregrip for Firearm

Miscellaneous Firearm Parts (Stock, barrel, magazine, sight)
Miscellaneous Ammuntion (.22 Shell casing, .40 cal, .45, .308 cal)
.40 Cal Glock magazine with 11 rounds

3 .40 cal rounds

9 Loaded magazine 81 miscellaneous firearm parts, accessories

10. Winchester Model 1400 12 ga shotgun, s/n: N515433

ll. MAADI, 7 62 cal rifle, s/n: CM19041

12. Browning 30-06 cal. rifle, s/n: 05285Py117

13. Polymer80 9mm pistol, with magazine and 17 rounds of ammunition
14. 50 round .40 cal. drum magazine

15.Assorted 9mm &12 ga ammunition

16. Firearm Part 81 2 boxes of 15 rounds of 12ga ammunition

17. Assorted 30-06 ammunition

18. 3 Polymer80 frame blanks and miscellaneous firearm parts

19. 3 loaded AK magazines

20. Receiver blank, miscellaneous firearm parts

21. 8 miscellaneous magazines & assorted ammuntion

22. Suspected silencer

23. Firearm part and pistol slide

24. 7 pistol magazines & assorted ammuntion

25. Apple iPad (Case/Keyboard)

26. USPS Box Containina miscellaneous firearms parts

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Certi[ication (by officer present during the execution of the warrant)

 

1 declare under penalty of pe)y`ury that 1 am an ojicer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk’s Ojice.

Dme.~ _S’{/¢/a<>/s __ M W

E.\'ecnting officer 's signature

’]S// l/€f /7/11/71`§ _/”_¢/_ “/ 4}'€!4`7,/

Frinted name and title

 

 

 

AUSA: Frances S. Lewis, x4850

